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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     April 23, 2025
BY ECF
The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 15C
New York, NY 10007

       Re:     Metropolitan Transportation Authority, et al. v. Duffy, et al., No. 25 Civ. 1413
               (LJL)

Dear Judge Liman:

        This Office represents defendants Sean Duffy, in his official capacity as Secretary of the
United States Department of Transportation (“DOT”), Gloria M. Shepherd, in her official capacity
as Executive Director of the Federal Highway Administration (“FHWA”), DOT, and FHWA
(together the “Federal Defendants”) in the above-referenced matter. We write respectfully in
accordance with the Court’s April 9, 2025 Order directing Defendants to inform the Court
“whether they anticipate the administrative record to include any documents other than Secretary
Duffy’s letter dated February 19 2025.” ECF No. 57. We also include herein an update regarding
recent developments relevant to this matter.
        As the Parties previously advised, FHWA extended the deadline for New York to cease
collection of tolls under the New York Central Business District Tolling Program (“CBDTP”) and
to provide information about the cessation of tolling until April 20, 2025. See ECF No. 49 at 11.
New York did not respond to FHWA’s request for information by April 20, 2025. Thus, on April
21, 2025, Secretary Duffy sent a letter to New York Governor Kathy Hochul directing the New
York State Department of Transportation (“NYSDOT”) to “submit a response to FHWA’s New
York Division Administrator that either: (1) certifies that the collection of tolls under the CBDTP
has ceased; or (2) demonstrates that the continued collection of tolls does not violate 23 U.S.C. §
301” by May 21, 2025. See April 21, 2025 Letter, attached hereto as Exhibit A. The letter further
advises that if, after evaluating the response from NYSDOT and any responses from TBTA and
NYCDOT, FHWA makes a determination that New York is out of compliance with 23 U.S.C. §
301, it may take certain measures to bring New York into compliance beginning on or after May
28, 2025.
        At this juncture, Federal Defendants can confirm that the administrative record will include
several documents in addition to Secretary Duffy’s February 19, 2025 letter. 1 As noted above,

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  The Federal Defendants expect that, among other things, the entirety of the administrative record
(including supplements) submitted in connection with the Court’s review of the NEPA analysis
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however, the agency decision-making process is ongoing. Accordingly, Federal Defendants have
determined that the administrative record cannot be compiled in full until the completion of that
process, which will include an opportunity for FHWA to review and consider any materials
submitted by NYSDOT, TBTA, and/or NYCDOT by the May 21, 2025 deadline prior to making
a final determination as to whether the collection of tolls under the CBDTP violates 23 U.S.C. §
301.
       Given these developments, Federal Defendants agree to confer with Plaintiffs and
Intervenor Plaintiffs regarding how these developments will impact the case schedule previously
entered by the Court, ECF No. 57.
       Thank you for your attention to this matter.

                                                              Respectfully,

                                                              JAY CLAYTON
                                                              United States Attorney

                                                      By:     /s/ Dominika Tarczynska
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will be included in the administrative record in this matter. In the interest of efficiency, Federal
Defendants intend to maintain the bates numbering of the administrative record previously
submitted in Mulgrew, et al. v. U.S. Dep’t of Transp., et al., No. 24 Civ. 1644 (LJL), New Yorkers
Against Congestion Pricing Tax, et al. v. U.S. Dep’t of Transp., et al., No. 24 Civ. 367 (LJL), and
Chan, et al. v. U.S. Dep’t of Transp., et al., No. 23 Civ. 10365 (LJL).
